          Case 5:19-cv-00040-LGW-BWC Document 4 Filed 07/24/19 Page 1 of 2


                           UNITED STATES DISTRICT COURT        ii <>
                           SOUTHERN DISTRICT OF GEORGIA


                                                                       JUL 21 m 10: 11$
ROGERIO CHAVES SCOTTON,    *
               Petitioner,*                                    '           OF^gT^



                           *        CASE NO: 5:19-CV-40


TRACY JOHNS, WARDEN,
             Respondent.




                  NOTICE FOR THE CLERK OF THE COURT




    On May 28, 2019, the Court entered a order requesting the Petitioner
to pay the $5,00 Court's fee in order to review his claims under his
application pursuant to 28 U.S.C. § 2241.
    The    Petitioner   family   has   sent   the   required    $5,00        fee   in     two
occasion. One, the fee was rejected for been sent to the wrong Court. The

second has not been rejected, however, the Petitioner did not receive any
response from thid Court.

    Therefore, the Petitioner respectfully request the reply and receipt

confirmation of his $5,00 paid fee and the reason for such delay.


                                                           tted.


                                        rcERiyrCHAV^^SCOTTON
                                       [EG     993^-004
                                       D. RAY JAMES C.F.
                                       P.O. BOX 2000
                                       FOLKSOTN GA 31537



                                       (1)
         Case 5:19-cv-00040-LGW-BWC Document 4 Filed 07/24/19 Page 2 of 2


                             PROOF OF SERVICE




    I Rogerio Chaves Scotton, do certify that on this July 19, 2019, I

have served the attached notice for the Clerk of the Court (which is under

the Petitioner's constitutional right) on the above proceeding. I have
served this motion via. United States Postal Service (USPS) first class
mail through, D. Ray James C.F. legal mail.




                          ISGE^irCH^^'SCOTTON
                         'REG^jiW: 9<i^0-004
                          D. RAY JAMES C.F.
                          P.O. BOX 2000
                          FOLKSOTN GA 31537




                                       (2)
